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                                                         U.S. Department of Justice

                                                         Channing D. Phillips
                                                         Acting United States Attorney

                                                         District of Columbia


                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530

                                                      September 29, 2021

Dani Jahn, Esq.
Brent Mayr, Esq.
Ronald Sullivan, Esq.
Camille Wagner, Esq.

       Re:      United States v. Patrick Montgomery and Brady Knowlton
                Case No. 21-CR-46

Dear Counsel:

       As part of our ongoing discovery production in this case, we produced the following
information on September 29, 2021:

             1. 4,044 files (over one terabyte) consisting of U.S. Capitol Police (“USCP”) Closed
                Circuit Video (“CCV”) footage from 118 cameras has been shared to the defense
                instance of evidence.com. The contents of footage being shared includes video
                from the interior of the U.S. Capitol Visitor Center and from the Capitol grounds.
                These files are designated Sensitive under the protective order. Additional footage
                will be provided on a rolling basis, as we ingest it into our own instance of
                evidence.com.

             2. Twenty files that are exhibits to previously produced USCP OPR reports, and a
                corresponding index, have been shared via USAfx and you should have received a
                notification via email. Any applicable sensitivity designations are reflected in the
                index. Additional exhibits will be provided on a rolling basis as we continue to
                ingest and quality-check them.

             3. Forty-two files that consist of MPD internal investigation reports and exhibits,
                and a corresponding index, have been shared via a second, separate USAfx
                production, and you should have received a notification via email. These reports
                and exhibits are unredacted and thus designated Highly Sensitive under the
                protective order.
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        The Federal Public Defender for the District of Columbia (“FPD”) has agreed to serve as
the Discovery Liaison for defense counsel in Capitol Breach cases. FPD is currently reviewing
the various features of evidence.com and testing out the capabilities of the program with sample
data. Within the next two weeks, FPD will be sending out information to defense counsel that
includes a point-of-contact for discovery-related inquiries, the procedures to follow for obtaining
a license to access evidence.com, and a quick start guide for defense counsel to use with
evidence.com.

        It has come to our attention that there are sensitivities that must be addressed prior to
large scale disclosure of body-worn-camera footage. We are working diligently to resolve these
issues and in the interim we have produced a sample of fifty body-worn-camera files to FPD’s
instance of evidence.com. This sample will allow our technological teams to discuss the
necessary infrastructure and workflows that need to be implemented. Ultimately, we intend to
produce the majority of body-worn-camera footage with the least restrictive applicable
sensitivity designations, if any, in order to facilitate defendant review.

      In the near future, we expect to provide tools that will assist your review of the
voluminous video footage described above, to include:

       1. Camera maps for USCP CCV;
       2. Our work product, consisting of a spreadsheet and related zone maps, identifying
          body-worn-camera footage by agency, officer, video start time, a summary of events,
          and location of the camera in 15-minute increments; and
       3. Global Positioning Satellite information for Metropolitan Police Department radios,
          which may be of some assistance in identifying officers whose body-worn-cameras
          were recording at a particular time and location.

        I will forward additional discovery as it becomes available. If you have any questions or
if you fail to receive two separate USAfx invitations in connection with this production, please
feel free to contact me.

                                                     Sincerely,



                                                     Elizabeth C. Kelley
                                                     James Peterson
                                                     Assistant United States Attorney




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